                      UNITED STATES BANKRUPTCY COURT
                       EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION – BAY CITY

 IN RE:                                         Chapter 7 Bankruptcy
                                                Bankruptcy No. 21-20908
 Ilakeisa Luckado                               HON. Daniel Opperman

       Debtor
 __________________________________/

 Creditor (s) Elga Credit Union                   MOTION BY DEBTOR ILAKEISA
 Address      8503 Davison Road                   LUCKADO FOR REDEMPTION
 Davison, MI 48423                                UNDER 11 U.S.C. §722

 Now comes the Debtor by and through counsel, and moves the court pursuant to 11
 U.S.C. and Bankruptcy Rule 6008 for a Redemption Order on the following grounds:

 1. The item to be redeemed is tangible personal property intended primarily for
    personal, family or household use is more particularly described as follows:

          Year 2007           Make Saturn               Model Aura

                                VIN # 1G8ZS57N37F235882

 2. The interest of the Debtor (s) in such property is exempt or has been abandoned by
    the estate and the debt (which is secured by said property to the extent of the allowed
    secured claim of the Creditor ) is a dischargeable consumer debt.

 3. The allowed secured claim of said Creditor for purposes of redemption, the
    “redemption value”, should be determined to be not more than $502.00 as evidenced
    by the attached written appraisal, KELLY BLUE BOOK. The vehicle is currently in
    operable and in need of repairs.

 4. Arrangements have been made by the Debtor (s) to pay to the said Creditor up to the
    aforesaid amount in a lump sum should this motion be granted.

 WHEREFORE, the Debtor (s) request (s) the Court to order the said Creditor to accept
 from the Debtor (s) the lump sum payment of the redemption value and release their lien
 of record. In the event the said Creditor objects to this motion, the Debtor (s) requests the
 Court to determine the value of the property as of the time of the hearing on such
 objection.




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